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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,
                                                  Case No. 1:20-cv-03010-APM
v.
                                                  HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.


STATE OF COLORADO, et al.,

                              Plaintiffs,
                                                  Case No. 1:20-cv-03715-APM
v.
                                                  HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.



           PLAINTIFFS’ INITIALREVISED PROPOSED FINAL JUDGMENT

       WHEREAS, Plaintiffs United States of America, and the States and Commonwealths of

Arkansas, California, Georgia, Florida, Indiana, Kentucky, Louisiana, Michigan, Missouri,

Mississippi, Montana, South Carolina, Texas, and Wisconsin, by and through their respective

Attorneys General (“Co-Plaintiff States”), filed their Complaint on October 20, 2020, and their

Amended Complaint on January 15, 2021;

       AND WHEREAS, Plaintiffs Colorado, Nebraska, Arizona, Iowa, New York, North

Carolina, Tennessee, Utah, Alaska, Connecticut, Delaware, District of Columbia, Guam, Hawaii,

Idaho, Illinois, Kansas, Maine, Maryland, Massachusetts, Minnesota, Nevada, New Hampshire,

New Jersey, New Mexico, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico,
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Rhode Island, South Dakota, Vermont, Virginia, Washington, West Virginia, and Wyoming

(together “Colorado Plaintiff States”) filed their Complaint on December 17, 2020;

         AND WHEREAS, the Court conducted a trial and entered Findings of Fact and

Conclusions of Law in both actions on August 5, 2024;

         AND WHEREAS, the Court entered judgment finding Google liable for violating

Section 2 of the Sherman Act by unlawfully maintaining its monopolies in the general search

services and general search text advertising markets;

         NOW THEREFORE, upon the record at trial and all prior and subsequent proceedings, it

is hereby ORDERED, ADJUDGED, AND DECREED:

I.       JURISDICTION

         The Court has jurisdiction over the subject matter of this action and over Google.

II.      APPLICABILITY

         This Final Judgment applies to Google, as defined below, and to all other persons in

active concert or participation with Google who have received actual notice of this Final

Judgment by personal service or otherwise.

III.     DEFINITIONS

         As used in this Final Judgment:

         A.     “Ads Data” means data related to Google’s selection, ranking, and placement of,

Search Text Ads in response to queries, including any User-side Data used in that process.

         B.A.   “AI Product” means any application, service, feature, tool, or functionality that

involves artificial intelligence capabilities.

         C.B.   “Android” means all code, software, applications, application programming

interfaces (APIs), and other products and services provided by Google through the Android Open


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Source Project (AOSP), including the open-source application framework, libraries, runtime, and

kernel, which are published at http://source.android.com (or successor sites), and any software

development kits made available at http://developer.android.com (or successor sites) and all

code, software, applications, APIs, and other products and services provided by Google that are

critical, inas informed by the determinationviews of the Technical Committee, to the full and

proper functioning of an Android Device. For the purposes of this Final Judgment, Android also

includes (1) the Google Play Store and Google Play Services; (2) all other code, software,

applications, APIs, and products and services provided by Google that are critical, inas informed

by the determinationviews of the Technical Committee, to the full and proper functioning of the

Google Play Store and Google Play Services; and (3) all code, software, applications, APIs, and

other products and services that Google adds to open-source Android to implement the operating

system (OS) on Pixel Devices.

       D.C.    “API” or “application programming interface” means a mechanism that allows

different software components to communicate with each other.

       E.D.    “Apple” means Apple Inc., a corporation organized and existing under the laws of

the State of California, headquartered in Cupertino, California, its successors and assigns, and its

subsidiaries, divisions, groups, affiliates, partnerships, and joint ventures, and their directors,

officers, managers, agents, and employees.

       F.E.    “Choice Screen” means a selection menu for either a Search Access Point Choice

Screen or a GSE default on a Search Access Point, which Plaintiffs approveDefault Choice

Screen as defined in Section IX.

       G.F.    “Chrome” means all code, software, applications, APIs, and other products and

services included in Google’s Chromium or the Chrome browser, including the open-source

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application framework, libraries, runtime, and kernel which are published at

http://www.chromium.org (or successor sites), and all code, software, applications, APIs, and

other products and services provided by Google that are critical, inas informed by the

determinationviews of the Technical Committee, to the full and proper functioning of Chromium

or the Chrome browser.

       H.G.    “Competitor” means any provider of, or potential entrant in the provision of, a

General Search Engine (GSE) or of Search Text Ads in the United States.

       I.H.    “Device” means any smartphone, tablet, laptop, desktop, or other device that

allows a user to access general search functionality.

       J.I.    “Distributor” is any Person that contracts with Google to display, load, or

otherwise provide access to a Google product.

       J.      “GenAI” or “Generative AI” is a type of artificial intelligence that creates new

content including but not limited to text, images, code, classifications, and other media using

machine learning models.

       K.      “GenAI Product” means any application, software, service, feature, tool,

functionality, or product that involves or makes use of Generative AI capabilities or models. It

can include GenAI Search Access Points.

       K.L.    “Google” means Defendant Google LLC, a limited liability company organized

and existing under the laws of the State of Delaware, headquartered in Mountain View,

California, its parent Alphabet Inc., their successors and assigns, subsidiaries, divisions, groups,

affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and

employees.




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       L.M. “Google Browser” means any web browser owned by Google, including Chrome

until divested.

       M.N. “Google Device” means any Device manufactured or refurbished by Google,

including Pixel phones and tablets.

       N.O.       “Google Grounding API” means aany method for connecting, including via API,

by which foundation model output to Google Search results through API.or a GenAI Product can

connect, call, access, retrieve, or display links or information from Google’s GSE.

       O.P.       “General Search Engine” or “GSE” means software or a service that produces

links to websites and other relevant information in response to a user query or prompt. “General

Search Engine” or “GSE” also has the meaning defined and used in the Court’s Memorandum

Opinion of August 5, 2024, ECF 1032, at 8.

       P.Q.       The terms “include” and “including” should be read as “including but not limited

to,” and any use of either word is not limited in any way to any examples provided.

       R.         “On-device AI” is a type of artificial intelligence (AI) model that runs on a

Device instead of on a cloud server. On-device AI includes a large language model (LLM) or

universal language model (ULM) stored entirely on a Device.

       Q.S.       “Person” or “person” means any natural person, corporate entity, partnership,

association, joint venture, government entity, or trust.

       R.T.       “Publisher” means any Person who controls the legal right to any information

published or otherwise made available on any website or through any mobile app.

       S.U.       “Qualified Competitor” means a Competitor who meets the Plaintiffs’ approved

data security standards setas recommended by the Technical Committee and agrees to regular

data security and privacy audits by the Technical Committee, who makes a sufficient showing to

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the Plaintiffs, in consultation with the Technical Committee, of a plan to invest and compete in

the GSE and/or Search Text Ads markets, and who does not pose a risk to the national security

of the United States.

       T.      “Ranking Signals” means variables that affect how all items on a Search Engine

Results Page (SERP) are positioned and ranked.

       U.V.    “Search Access Point” means any software, application, interface, digital product,

or service where a user can enter a query or prompt and, in response to at least some user queries

or prompts, receive (or be directed to a place to receive) a response that includes information

from a GSE., including links to websites. Search Access Points include OS-level Search Access

Points (e.g., widgets),, browsers (including Search Access Points within browsers such as

browser address bars), and search apps as well as their widgets, and GenAI Products that can

retrieve and display information from a GSE, including links to websites.

       V.W. “Search Feature” in Google Search means any content on a SERP that is not an

organic link. Search Features include images, featured snippets, hotel units, query expansion

features like auto-complete, “did you mean” prompts, spelling corrections, and related searches.

       W.X. “Search Index” means any databases that store and organize information about

websites and their content that is crawled from the web, gathered from data feeds, or collected

via partnerships, from which Google selects information to provide results to users in response to

general search queries.

       X.Y.    “Search Text Ad” means a general search text advertisement, which is an ad that

resembles an organic link on a SERP. “Search Text Ad” also has the meaning defined and used

in the Court’s Memorandum Opinion of August 5, 2024, ECF 1032, at 60, and includes Search

Text Ads appearing in or in connection with Google AI Overviews.

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        Y.Z.   “SERP” or “Search Engine Results Page” means the results provided by a search

engine, in response to a user query, including links and other features and content, including

from a broad index of the web. “SERP” or “Search Engine Results Page” also has the meaning

defined and used in the Court’s Memorandum Opinion of August 5, 2024, ECF 1032, at 19.

        Z.AA. “Technical Committee” or “TC” means the five-person committee of experts

appointed by the Court pursuant to SectionParagraph X.A.

        AA.BB.         “User-side Data” means all data that can be obtained from users in the

United States, directly through a search engine’s interaction with the user’s Device, including

software running on that Device, by automated means. User-side Data includes information

Google collects when answering commercial, tail, and local queries. User-side Data may also

include data setsdatasets used to train or(at all stages of training including pre-training and

filtering, post-training, fine-tunetuning) Google’s ranking and retrieval components, as well as

artificial intelligenceGenAI models used for Google’s AI ProductGenAI Products.

IV.     PROHIBITION ON FORECLOSING OR OTHERWISE EXCLUDING
        COMPETITORS THROUGH CONTRACTS WITH THIRD PARTIES THAT
        MAINTAIN GOOGLE’S MONOPOLIES

        The purposes of the following remedies set forth in this Section are to unfetter the

monopolized markets from Google’s exclusionary practices, pry open the monopolized markets

to competition, remove barriers to entry, and ensure there remain no practices likely to result in

unlawful monopolization of these markets and related markets in the future by prohibiting

contracts that foreclose or otherwise exclude Competitors, including by raising their costs,

discouraging their distribution, or depriving them of competitive access to inputs.

        A.     Preferential Treatment andAnd Payments To Non-Apple Third Parties Prohibited:

Google must not offer or provide somethinganything of value to aany non-Apple third party,


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including payments or other commercial terms that create an economic disincentive to compete

in or enter the GSE or Search Text Ad market(s),, for (1) preferential treatment of a General

Search Engine (GSE) or Search Access Point relative to Competitors; (2) making or maintaining

any GSE as a default within a new or existing Search Access Point or for undermining,

frustrating, interfering with, or in any way discouraging the use of any GSE Competitor; or (3)

preinstallation, placement, or default status of any Search Access Point. This prohibition includes

payments for Choice Screens (with the limited exception noted in Section IX) and preferential

treatment of GSE distribution or inputs that would have the effect of disadvantaging any GSE

Competitor.

       B.      Apple Search Access Points And Devices: Google must not offer or provide

anything of value to Apple—or offer any commercial terms—that in any way creates an

economic disincentive for Apple to compete in or enter the GSE or Search Text Ad markets.

       B.      Preferential Treatment And Payments To Apple Prohibited: Google must not offer

or provide anything of value to Apple, including payments, for (1) preferential treatment of a

General Search Engine (GSE) or Search Access Point relative to Competitors; (2) making or

maintaining any GSE as a default within a new or existing Search Access Point or for

undermining, frustrating, interfering with, or in any way discouraging the use of any GSE

Competitor; or (3) preinstallation, placement, or default status of any Search Access Point. This

prohibition includes payments for Choice Screens and preferential treatment of GSE distribution

or inputs that would have the effect of disadvantaging any GSE Competitor.

       C.      Exclusionary Agreements withWith Publishers Prohibited: Google must not enter

into a contract or other agreement, or enforce any existing agreement, with any Publisher to

license data from any Publisher, website, or content creator, which provides Google exclusivity

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or otherwise restricts the Publisher’s ability to license or otherwise make available the data to

any other GSE or AIGenAI Product developer. This includes, for example, any agreement with a

“most favored nation” or any similar provision that would require the Publisher to give Google

the best terms it makes available to any other buyer or licensee.

       D.      Conditional Access Prohibited: Google must not condition access or terms of

access to the Play Store or any other Google product on a distribution agreement for a GSE,

Search Access Point, or Choice Screen; or an agreement not to distribute a Competitor’s product

or service. Google must not bundle, tie, comingle, or otherwise condition, a GSE or Search

Access Point with any other Google product, for example, by licensing a Google product to a

Distributor and including a GSE or Search Access Point license for free.

       E.      Revenue Share Payments Prohibited: Google must not offer or provide to any

Distributor anything of variable valueany payment that is determined or calculated based on the

usage of, or revenue generated by—or any similar factor for—any particular GSE or Search

Access Point (e.g., Google queries, Google Search Text Ad clicks, Google selections on a

Choice Screen). For clarity, Google may make payments that are unrelated to search and are not

determined or calculated based on the usage of or revenue generated by—or any similar factor

for—any particular GSE or Search Access Point.

       F.      Prohibited Investments: Within thirty (30) days of entry of this Final Judgment,

Google must notify Plaintiffs of any investment, holding, or interest in any Competitor, any

company that controls a Search Access Point or an AI Product, or in any technologies, such as

AI Products, that are potential entrants into the GSE or Search Text Ads markets or reasonably

anticipated competitive threats to GSEs. Within six (6) months, Google must divest any such

interest and immediately refrain from taking any action that could discourage or disincentivize

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that company from developing products or services that compete with, disrupt, or disintermediate

Google’s GSE or Search Text Ads.

       F.      Prohibited Search Ad Syndication Payments: Notwithstanding any other

provision, Google may make payments to entities syndicating Search Ads from Google, subject

to the provisions of Paragraph VIII.E.

       G.      Permitted Payments: Notwithstanding any other provision, Google may make the

following payments:

               1.      Google may pay a third-party to show ads for Search Access Points in an

                       app store, and for offering a Search Access Point in an app store, provided

                       that:

                       a)      the app store includes at least three similar non-Google Search

                               Access Points;

                       b)      the Google Search Access Point does not receive more favorable

                               treatment than any other similar Search Access Point; and

                       c)      the payment complies with Paragraph IV.E.

               2.      Google may offer or provide payment or other valuable consideration to a

                       consumer for utilizing Google Search, e.g., Google may pay a consumer

                       for each search they conduct using Google Search. Google must not offer

                       or provide anything of value, including payments, to a consumer to set

                       Google Search as the default GSE.

       G.H.    Acquisitions And Investments: Google must not, without the prior written consent

ofproviding Prior Notification, as defined in Paragraph IV.I, to the United States and the Plaintiff

States, acquire any interest in, or part of, any company; enter into a new joint venture,

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partnership, or collaboration, including any marketing or sales agreement; or expand the scope of

an existing joint venture, partnership, or collaboration, with any company that competes with

Google in the GSE or Search Text Ads markets or any company that controls a Search Access

Point or query-based AIGenAI Product. The decision whether to consent is within the sole

discretion of the United States, after consultation with the Co-Plaintiff States and the Colorado

Plaintiff States. Nothing in this provisionParagraph IV.H prevents any StatePlaintiff from

separately investigating or challenging the legality of an acquisition, joint venture, partnership,

or collaboration under applicable state or federal law.

       I.      Prior Notification:

               1.      Unless a transaction is otherwise subject to the reporting and waiting

                       period requirements of the Hart-Scott-Rodino Antitrust Improvements Act

                       of 1976, as amended, 15 U.S.C. § 18a (the “HSR Act”), Google may not,

                       without first providing notification to the United States and the Plaintiff

                       States, directly or indirectly acquire (including through an asset swap

                       agreement) any assets of or any interest, including a financial, security,

                       loan, equity, or management interest, in any person or entity that competes

                       with Google in the GSE or Search Text Ads markets or any company that

                       controls a Search Access Point or Gen AI Product.

               2.      Google must provide the notification required by this Paragraph IV.I in the

                       same format as, and in accordance with the instructions relating to, the

                       Notification and Report Form set forth in the Appendix to Part 803 of

                       Title 16 of the Code of Federal Regulations, as amended. Such notice must

                       also be made to the Plaintiff States. Notification must be provided at least

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                      thirty (30) calendar days before acquiring any assets or interest, and must

                      include, beyond the information required by the instructions, the names of

                      the principal representatives who negotiated the transaction on behalf of

                      each party and all management or strategic plans discussing the proposed

                      transaction. If, within the thirty (30) calendar days following notification,

                      representatives of the United States (after consultation with the Co-

                      Plaintiff States and the Colorado Plaintiff States’ enforcement committee),

                      make a written request for additional information, Google may not

                      consummate the proposed transaction until thirty (30) calendar days after

                      submitting all requested information.

               3.     Early termination of the waiting periods set forth in this Paragraph IV.I

                      may be requested and, where appropriate, granted in the same manner as is

                      applicable under the requirements and provisions of the HSR Act and

                      rules promulgated thereunder. This Paragraph IV.I must be broadly

                      construed and any ambiguity or uncertainty regarding whether to file a

                      notice under this Paragraph IV.I must be resolved in favor of filing notice.

       H.J.    No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. For example, Google may not make payments

permitted under Paragraphs IV.A, B, E, or G with the purpose or effect of circumventing or

frustrating the purposes of this Section. Complaints regarding non-compliance with this

provision will be reviewed in the first instance by Section may be referred to the TC for review

in accordance with Paragraph X.C.3 below.

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V.      PROHIBITION ON FORECLOSING OR OTHERWISE EXCLUDING GSE AND
        SEARCH TEXT AD COMPETITORS THROUGH OWNERSHIP OR CONTROL
        OF RELATED PRODUCTS

        The purposes of the following remedies set forth in this Section are to unfetter the

monopolized markets from Google’s exclusionary practices, pry open the monopolized markets

to competition, remove barriers to entry, and ensure there remain no practices likely to result in

unlawful monopolization of these markets and related markets in the future by requiring Google

to divest its browser Chrome and prohibiting Google from providing its search products

preferential access to related products or services that it owns or controls such as its mobile

operating system (e.g., Android).

        A.      Chrome Divestiture: Google must promptly and fully divest Chrome, along with

any assets or services necessary to successfully complete the divestiture, to a buyer approved by

the Plaintiffs in their sole discretion, subject to terms that the Court and Plaintiffs approve. The

evaluation of any potential buyer shall include the potential buyer’s proposed business and

investment plans (including those for open-source project Chromium), the United States’

evaluation, at its sole discretion, of any potential risks to national security, the potential buyer’s

plans for sharing and protecting user data included in the acquisition, and any other issues a

potential buyer may present. Google may not release any other Google Browser during the term

of this Final Judgment absent approval by the Court, but Google may continue to support the

existing functionality of non-Chrome Google Browsers that have already been released as of

March 7, 2025. Nothing in this Paragraph V.A prevents any Plaintiff from separately

investigating or challenging the legality of an acquisition, joint venture, partnership, or

collaboration under applicable state or federal law.




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        B.     Android Divestiture Option: In lieu of adhering to the requirements of this Section

V with respect to Android, Google may elect to fully divest Android, to a buyer approved by the

Plaintiffs in their sole discretion, subject to terms that the Court and Plaintiffs approve. If Google

chooses to retain control of Android but fails to comply with the requirements of this Section V

as they apply to Android, or if compliance with or enforcement of this Final Judgment proves

unadministrable or ineffective, then Plaintiffs may petition the Court to order the divestiture of

Android.

        C.     Self-Preferencing Prohibited: Except as permitted under Section IX, Google must

not use any Google-owned or operated asset (including any software, website, Device, service,

dataset, algorithm, or app) to preference Google’s GSE, Search Text Ads, or AI Products;

undermine, frustrate, interfere with, or in any way lessen the ability of a user to discover a rival

GSE or of an advertiser to discover or shift its Search Text Ad spending to a rival Search Text

Ads provider; limit the competitive capabilities of a rival GSE or rival Search Text Ads provider;

or otherwise impede user discovery of products or services that are competitive threats in the

GSE or Search Text Ads markets. For example, Google must not use its ownership or control of

Android or any other product or service to disadvantage Competitors, including prompting a user

to switch the default GSE or to install or switch a Search Access Point. For the avoidance of

doubt, Google must not provide itself with preferential access to Android or Google-owned apps

or data as compared to the access it provides to all other GSEs and AI Products, and must not use

its ownership and control of Android, or any other Google product or service, to:

        B.     make any Google GSE, Search Text Ads, or AISelf-Preferencing Prohibited:

Google must not use its ownership and control of Android, or any other Google product or

service, to:

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        1.    make any GSE, Search Access Point, GenAI Product (including on-device

              AI), or On-Device AI explicitly or implicitly mandatory on Android

              Devices, for example, by preventing interoperability between Android

              AICore, or thea Google Grounding API and Competitor products and

              services or competitive threats in the GSE or Search Text Ads markets;

        2.    reduce, prevent, or otherwise interfere with the distribution of rivala

              Competitors’ GSE, Search Text AdsAccess Point, or AIGenAI Products

              on Android Devices;

        3.    degrade any aspect of quality, including the features, functionality, or user

              experience, on rivala Competitor’s GSE, Search Text AdsAccess Point, or

              AIGenAI Products on Android Devices;

        4.    explicitly or implicitly, directly or indirectly, prevent or discourage

              manufacturers or other Android partners (e.g., carriers) from working with

              Google’sCompetitors’ GSE, Search Text AdsAccess Point, or AI Product

              rivalsGenAI Products;

        5.    explicitly or implicitly, directly or indirectly, punish or penalize

              manufacturers or other Android partners (e.g., carriers) that work with

              Google’sCompetitors’ GSE, Search Text AdsAccess Point, or AI Product

              rivalsGenAI Products; or

        6.    otherwise use its ownership and control of Android to explicitly or

              implicitly, directly or indirectly, force or coerce manufacturers or other

              Android partners (e.g., carriers) to (i) work with Google’s GSE, Search

              Text Ads, or AIGenAI Products or (ii) give Google’s products and

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                        services any better treatment than given Google’s rivals’Competitors’

                        products.

         D.C.   Contingent Structural Relief: In the event the remedies in this Final Judgment

prove insufficient to serve their intended purposes of restoring competition or if Google attempts

to or is successful in, circumventing these remedies, then the Court may impose additional

structural relief, including the divestiture of Android. FiveIf, at least five (5) years after entry of

this Final Judgment, if Plaintiffs demonstrate by a preponderance of the evidence that either or

both monopolized markets have not experienced a substantial increase in competition, then

Google shall divest Android unless Google can show by a preponderance of the evidence that its

ownership or control of Android did not significantly contribute to the lack of a substantial

increase in competition.

         E.D.   No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. Complaints regarding non-compliance with this

provision willSection may be reviewed in the first instance byreferred to the TC for review in

accordance with Paragraph X.C.3 below.

VI.   REQUIRED DISCLOSURES OF SCALE-DEPENDENT DATA NECESSARY TO
      COMPETE WITH GOOGLE
VI.I. REQUIRED DISCLOSURES OF SCALE-DEPENDENT DATA NECESSARY TO
      COMPETE WITH GOOGLE

         The purposes of thesethe remedies set forth in this Section are to remove barriers to entry,

pry open the monopolized markets to competition, and deprive Google of the fruits of its

violations by providing Competitors access to scale-dependent data inputs—for both search and

ads—that would otherwise provide Google an ongoing advantage from its exclusionary conduct.

These remedies are intended to make this data available in a way that provides suitable security
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and privacy safeguards for the data that Google must share. Google is prohibited from using and

retaining data to which access cannot be provided to Qualified Competitors on the basis of

privacy or security concerns.

       A.      Google’s Search Index:

       B.A.    For the term of this Final Judgment, Google must provide, will make available, at

marginal cost, ongoing access to its Search Index to to Qualified Competitors such that it is

equally available to Qualified Competitors and Google. the following data related to Google’s

Search Index, in addition to any data made available by Google via the APIs required under

Sections VII and VIII:

               1.        Google must make available, through the Search Index, all content from
                         any Google-owned website, property, or other operated platform (e.g., all
                         Google owned or operated properties such as YouTube) which Google
                         uses in its own Search Index.

               2.        Google must provide the Search Index with latency and reliability
                         functionally equivalent to how Google is able to access its Seach Index.

               1.        for each document in the Google Search Index a unique identifier (DocID)

                         and another notation sufficient to denote all the documents Google

                         considers duplicates of each other;

               2.        a DocID to URL map;

               3.        for each DocID a set of signals, attributes, or metadata associated with

                         each DocID that are derived in any part from User-side Data including but

                         not limited to (A) popularity as measured by user intent and feedback

                         systems including Navboost/Glue, (B) quality measures including

                         authoritativeness, (C) time that the URL was first seen, (D) time that the

                         URL was last crawled, (E) spam score, (F) device-type flag, and (G) any


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                        other specified signal the TC recommends to be treated as significant to

                        the ranking of search results; and

                4.      databases consisting of information sufficient to recreate Google’s

                        Knowledge Graph, including local information.

This information must be provided for all websites in the full Search Index Google uses for

searches on Google.com or any other of its owned and operated general search products. Google

must make this information available to Qualified Competitors on a periodic basis to be

determined by Plaintiffs in consultation with the TC. For clarity, in each periodic update Google

will provide a full set of DocIDs and associated signals for the entire then-current information in

Google’s Search Index. Nothing in this Section VI purports to transfer intellectual property rights

of third parties to index users.

        C.B.    Publisher Opt-Out: Google must provide online Publishers, websites, and content

creators with an easily useable mechanism to selectively opt-out of having the content of their

web pages or domains used in search indexing; or used to train or fine-tune AIany of Google’s

GenAI models, or AIGenAI Products; used in retrieval-augmented generation-based tools; or

displayed as AI-generated content on its SERP, and such opt-out must be applicable for (on a

model-by-model basis). Google as well as for users of must enable online Publishers, websites,

and content creators to opt-out of individual GenAI Products on a product-by-product basis

without affecting the Search Index.Publisher, website, or content creator’s participation or

inclusion in any other Google must provide for an opt-out specific to itself and each index user

on a user-by-user basis and must transmit all opt-outs to index users in a useable format.product

or feature. Google must offer content creators on Google-owned sites (all Google owned or

operated properties, including YouTube) the same opt-out provided to Publishers, websites, and

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content creators. Google must not retaliate against any Publisher, website, or content creator who

opts-out pursuant to this provisionParagraph VI.B.

       C.      User-sideSide Data: For the term of this Final Judgment, Google must provide

will make available, at marginal cost, to Qualified Competitors, at no cost, with access to the

following User-side Data on a non-discriminatory basis while safeguarding personal privacy and

security. Any , in addition to any data made available by Google via the APIs required under

Sections VII and VIII:

               1.        User-side Data that Google collectsused to build, create, or operate the

                         GLUE statistical model(s);

               2.        User-side Data used to train, build, or operate the RankEmbed model(s);

                         and uses

               3.        The User-side Data used as part oftraining data for GenAI Models used in

                         Search or any of its products consistent withGenAI Product that can be

                         used to access Search.

Google must make this Final Judgement can presumptively be data available to Qualified

Competitors on a periodic basis to be determined by Plaintiffs in consultation with the TC.

       D.      User-Side Data Sharing Administration: Before this data specified in Paragraph

VI.C is shared with Qualified Competitors consistent, Google must use ordinary course

techniques to remove any Personally Identifiable Information. Google must provide sufficient

information for each dataset such that it can be reasonably understood by Qualified Competitors,

including but not limited to a description of what the dataset contains, any sampling

methodology used to create the dataset, and any anonymization or privacy-enhancing technique

that was applied. Google will have up to six (6) months from the date of entry of this Final

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Judgment to implement the technology and provide any notice necessary to comply with this

Section VI, and the six-month time period will start once Plaintiffs, in consultation with personal

privacy andthe TC, determine that the technology, including security, as Google is prohibited

from using and retaining data to which access cannot be provided to Competitors on the basis of

and privacy or security concernssafeguards, is fully functional.

       E.      Ads Data: For the term of this Final Judgment, Google must provide Qualified

Competitors, at marginal cost, the following Ads Data, in addition to any data made available by

Google via the APIs required under Sections VII and VIII: Ads Data used to operate, build or

train AdBrain models or other models used in Ads targeting, retrieval, assessing ad relevance,

bidding, auctioning (including predicted click-through rates (pCTR)), formatting, or content

generation.

       D.F.    Ads Data Sharing Implementation: Before this data specified in Paragraph VI.E.

is shared with Qualified Competitors, Google must use ordinary course techniques to remove any

Personally Identifiable Information. Google must provide sufficient information for each dataset

such it can be reasonably understood, including but not limited to a description of what the

dataset contains, any sampling methodology used to create the dataset, and any anonymization or

privacy-enhancing technique that was applied. Google will have up to six (6) months from the

date of entry of this Final Judgment to implement the technology and provide any notice

necessary to comply with this Section VI, and the six-month time period will start once

Plaintiffs, in consultation with the TC, determine that the technology, including security and

privacy safeguards, is fully functional. Qualified Competitors may elect to receive real-time or

daily access to the data via an API, data firehose, or data transfer, or other suitable mechanism

that Google makes available to or within its own GSE.

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       E.      Synthetic Queries: Google must permit, at no cost, Qualified Competitors to

submit synthetic or simulated queries and Google must provide results in the same format as the

results provided in the API required in the Section VII below. The Qualified Competitor will be

entitled to log and use (in any way) Google’s results, including ads and anything else that would

appear on a Google SERP. The maximum number of allowable synthetic queries will be

determined by the Plaintiffs in consultation with the TC.

       F.      Ads Data: For the term of this Final Judgment, Google must provide Qualified

Competitors, at no cost, with access to all Ads Data on a non-discriminatory basis while

safeguarding personal privacy and security. Any Ads Data that Google collects and uses as part

of any of its products consistent with this Final Judgement can presumptively be shared with

Qualified Competitors consistent with personal privacy and security, as Google is prohibited

from using and retaining data to which access cannot be provided to Competitors on the basis of

privacy or security concerns. Google will have up to six (6) months from the date of entry of this

Final Judgment to implement the technology necessary to comply with this Section VI, and the

time period will start once Plaintiffs, in consultation with the TC, determine that the technology,

including security and privacy safeguards, is fully functional. Qualified Competitors may elect to

receive real-time or daily access to the data via an API, data firehose, or other transfer, or other

suitable mechanism that Google makes available to or within its own GSE.

       G.      No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. Complaints regarding non-compliance with this

provision willSection may be reviewed in the first instance byreferred to the TC for review in

accordance with Paragraph X.C.3 below.

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VII.   REQUIRED TEMPORARY SYNDICATION OF SEARCH RESULTS AND ADS
       NECESSARY TO BUILD GSE QUALITY AND SCALE OF QUALIFIED
       COMPETITORS

       The purposes of the following remedies set forth in this Section are to remove barriers to

entry, pry open the monopolized markets to competition, and deprive Google of the fruits of its

violations by enabling Competitors to quickly erode Google’s scale advantages, while also

providing incentives for those rivals and entrants to transition to independence. Google may not

syndicate its search results or Search Text Advertising except as allowed by this Section VII or

otherwise approved by Plaintiffs.

       A.      Search Syndication License: Google must take steps sufficient to make available

to any Qualified Competitor, at no more than the marginal cost of this syndication service, a

syndication license whose term will be ten (10) years from the date the license is signed, and

which makeswill require Google, via real-time API(s), to make the following information and

data available in response to each query issued or submitted by a Qualified Competitor:

               1.     Data sufficient to understand the layout, display, slotting, and ranking of

                      all non-advertising components of its GSE, items or modules on the

                      SERP, including allbut not limited to the mainline content and sidebar

                      content and sitelinks and snippets;

               2.     Ranked organic search results and all obtained from Google database or

                      index, regardless of whether such web content was obtained by crawling

                      the Internet or by other means;

               3.     Search Features, Ranking Signals for thosefeatures that enable query

                      corrections, modification, or expansion like spelling, synonyms,

                      autocomplete, autosuggest, related search, “did you mean,” “people also


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                      ask,” and any other important query rewriting features identified by the

                      TC;

               4.     Local, Maps, Video, Images, and Knowledge Panel search feature content;

                      and

               5.     FastSearch results (fast top organic results and Search Features, and query

                      understanding information such that a licensee is enabled to display a

                      SERP, understand Google’s ranking rationale, and ).

The information provided pursuant to this Section must be the same as if the Qualified

Competitor’s query had been submitted through Google.com. It will be the Qualified

Competitor’s sole discretion to determine how much information to share with Google modified

or refinedregarding the user’s query.end-user.

       A.B.    Syndication License Obligations: Google must provide the license on a non-

discriminatory basis to any Qualified Competitor and may impose no restrictions on use, display,

or interoperability with Search Access Points, including of AIGenAI Products, provided,

however, that Google may take reasonable steps to protect its brand, its reputation, and security.

For example, licenseesLicensees may elect, in their sole discretion, which queries (some or all)

for which they will request syndicated results and which syndication components to display or

use and may do so in any manner they choose. Google may not place any conditions on how any

licensee may use syndicated content under this Paragraph VII.A, nor may Google retain, or use

(in any way), syndicated queries or other information it obtains under this Paragraph VII.A for

its own products and services. For the avoidance of doubt, this Final Judgment only requires

Google to provide syndication for queries that originate in the United States.




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       B.C.    Search Syndication License Terms: The search syndication license must have the

following additional features:

               1.     Google will make syndicated content available via an API that provides

                      responses with latency and reliability functionally equivalent to what

                      Google provides for its own SERP.

               2.     Syndication will start with significant access to the data required by

                      Paragraph VII.A above and decline over the course of a 10-year period

                      with an expectation that licensees will become independent of Google

                      over time through investment in their own search capabilities. The scope

                      of allowable syndication will be determined by the Plaintiffs in

                      consultation with the TC.

               3.     Google may not consent to licensees exceeding syndication limits set by

                      Plaintiffs, and licensees must submit to the TC audits of syndication

                      frequency.

       C.D.    Contingent Search Text Ads Syndication License: Relief: If, at least five (5) years

after entry of this Final Judgment, if Plaintiffs demonstrate by a preponderance of the evidence

that either or both monopolized markets have not experienced a substantial increase in

competition, then Google must take steps sufficient to make available to any Qualified

Competitor, at no more than the marginal cost of this syndication service, a syndication license

whose term will be one (1) year from the date the license is signedfor the remainder of this Final

Judgment and which makes available all components of its Search Text Ads product, including

all types of Search Text Ads (including any assets, extensions, or similar Search Text Ad

variations) appearing on Google’s SERP or available through Google’s AdSense for Search.

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Google must make the purchase of ads syndicated under this Section available to advertisers on a

nondiscriminatory basis comparable to Google’s other Search Text Ads. For each syndicated ad

result, Google must provide to the Qualified Competitor all Ads Data related to the result,

provide the license on a non-discriminatory basis, and may impose no restrictions on use,

display, or interoperability with Search Access Points, including of AIGenAI Products, provided,

however, that Google may take reasonable steps to protect its brand, its reputation, and security.

The Contingent Search Text Ads Syndication License relief is separate from, and in addition to,

the Search Text Ads Syndication remedy provided in Paragraph VIII.E, except that the

Contingent Search Text Ads Syndication License must, if implemented, comply with Paragraph

VIII.E. For example, licensees may elect, in their sole discretion, which queries (some or all) for

which they will request syndicated Search Text Ads and which syndication components to

display or use and may do so in any manner they choose. Google may not place any conditions

on how any licensee may use syndicated content under this Paragraph VII.B. Google may not

retain or use (in any way) syndicated queries or other information it obtains under this Paragraph

VII.B for its own products and services. For the avoidance of doubt, Google must only provide

syndication for queries that originate in the United States.

               1.      Synthetic Queries: Google must permit, at marginal cost, Qualified
                       Competitors to submit synthetic or simulated queries, and Google must
                       provide results in the same format as the results provided in the API
                       required in this Section VII. The Qualified Competitor will be entitled to
                       log and use (in any way) Google’s results, including ads and anything else
                       that would appear on a Google SERP. The maximum number of allowable
                       synthetic queries will be determined by the Plaintiffs in consultation with
                       the TC.Ads Syndication License Terms: The ads syndication license must
                       have the following additional features:

                       a)      Google must make syndicated content available via an API that
                               provides responses with latency and reliability functionally
                               equivalent to what Google provides for Search Text Ads displayed
                               on its own SERP.
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                       b)     Licensees may not request syndicated ads for more than 25% of
                              the Search Text Ads they serve for queries originating in the
                              United States. Google may not consent to requests exceeding these
                              syndication limits, and licensees must submit to the TC audits of
                              syndication frequency.

       E.

       F.      No Restraints On Use For Other Purposes: Google must permit, and must not

limit or otherwise restrain, Qualified Competitors from using the information and services

obtained under this Section VII for any purpose related to general search or general search text

advertising.

       D.G.    Existing Syndication Agreements: The provisions of this Section VII will have no

effect on any existing Google syndication agreements with third parties or on its ability to enter

into syndication contracts with third parties other than Qualified Competitors, except that:

               1.      Google must permit any entity with an existing syndication agreement

                       who becomes a Qualified Competitor, at the Qualified Competitor’s sole

                       discretion, to terminate its existing agreement in favor of the remedies in

                       this Section VII.

               2.      Google must comply with Paragraph VII.A for all existing syndication

                       agreements between Google and third-party GSEs by the earlier of two (2)

                       years from the Effective Date or the term of any existing syndication

                       contract.

               3.      For any existing or future Google agreements licensing or syndicating any

                       search or search ads products to a Competitor, Google cannot:

                       a)     Enforce any provisions restricting use, display, or interoperability

                              with Search Access Points, including of AIGenAI Products,


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                              provided, however, that Google may take reasonable steps to

                              protect its brand, its reputation, and security. For example,

                              licensees may elect, in their sole discretion, which queries (some or

                              all) for which they will request syndicated results and which

                              syndication components to display or use and may do so in any

                              manner they choose.

                      b)      Retain or use (in any way) syndicated queries or other information

                              it obtains from Competitors for its own products and services.

       E.H.    No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. Complaints regarding non-compliance with this

provision willSection may be reviewed in the first instance byreferred to the TC for review in

accordance with Paragraph X.C.3 below.

VIII. SEARCH TEXT AD TRANSPARENCY AND REDUCTION OF SWITCHING
        COSTS
VIII.I. SEARCH TEXT AD TRANSPARENCY AND REDUCTION OF SWITCHING
        COSTS

       The purposes of the following remedies set forth in this Section are to reduce entry

barriers, afford advertisers better data to inform product choices, and pry open the monopolized

markets to competition, including by providing advertisers with information and options

providing visibility into the performance and cost of their Google Search Text Ads and by

providing the necessary ability to optimize their advertising, including by purchasing Search

Text Ads from Google Competitors.

       A.      Search Query Report: For each Search Text Ad served or clicked, Google must

make available to advertisers at the individual ad level for the preceding 18-month period, data
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showing the query, keyword trigger, match type, cost-per-click (CPC), click-through rate (CTR),

SERP positioning, lifetimelong-term value (LTV), conversion data, and any other metric

necessary for the advertiser to evaluate its ad performance. This data must be made available

through an API that permits advertisers to download raw data in real time, generate reports and

summaries, and perform other analytical functions to assess ad spend, ad performance, and in-

campaign optimization (including the ability to assess incremental clicks generated by Search

Text Ads). This data must also be provided to advertisers through periodic (at least monthly)

autogenerated summaries accessible through the Google ads system interface.

       B.      Keyword Matching: Google must make available to advertisers a keyword

matching option such that, when an advertiser chooses this matching option for a given keyword,

the advertiser’s ad will be eligible for the ad auction only when a query’s content exactly

matches with no variation to the keyword selected by the advertiser. This same matching option

must also be made available for use with negative keywords.

       C.      Access toTo Data Reports: Google must not limit the ability of advertisers to

export in real time (by downloading through an interface or API access) data or information

relating to their entire portfolio of ads or advertising campaigns bid on, placed through, or

purchased through Google, including data relating to placement or performance (i.e., conversion

data).including conversion and conversion value data). The data made available must include all

of the information contained in or used by Google in its Google Analytics, Ads Data Hub,

Google Ads Data Manager, BigQuery, or Store sales and visitor measurement products, on the

most granular and detailed level.

       D.      Search Text Ads Auction Changes: On a monthly basis, Google must provide the

TC and Plaintiffs a report outlining all changes made to its Search Text Ads auction in the

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preceding month, provide (1) Google’s public disclosure of that change or (2) a statement why

no public disclosure is necessary, and further identify each change which Google considers

material. Plaintiffs have the right to challenge any disclosure they deem inadequate.

       E.      Search Text Ads Syndication: Google must take steps sufficient to make available

to any Qualified Competitor a Search Ads Syndication License whose term will be ten (10) years

from the date the license is signed, providing latency, reliability, and performance functionally

equivalent to what Google provides for Search Text Ads on its own SERP, and available to

Qualified Competitors on financial terms no worse than those offered to any other user of

Google’s Search Text Ads syndication products, e.g. AdSense for Search, or any other current or

future products offering syndicated Search Text Ads. It will be the Qualified Competitor’s sole

discretion to determine how much information to share with Google regarding the end-user.

Search Text Ads syndication licenses to Qualified Competitors must include all types of Search

Text Ads (including any assets, extensions, or similar Search Text Ad variations) appearing on

Google’s SERP or available through its syndication products. Google must make the purchase of

ads syndicated under this Paragraph available to advertisers on a nondiscriminatory basis

comparable to, and no more burdensome than, the availability of Google’s other Search Text

Ads, must include Qualified Competitors in its Search Partner Network, and must also provide

advertisers the option to appear on each individual Qualified Competitor’s sites on a site-by-site

basis (i.e. an advertiser can choose to appear as a syndicated result on a Qualified Competitor’s

site regardless of whether it opts into the Search Partner Network or chooses to appear on any

other site, including Google.com). For each syndicated ad result, Google must provide to the

Qualified Competitor all Ads Data related to the ads provided to the Qualified Competitor,

including the identity of the advertiser and CPC paid, and conversion data where available,

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without restrictions on use of the Ads Data including restrictions on using it to market or solicit

advertisers for the Qualified Competitors’ own advertising products. For ads syndicated to

Qualified Competitors, Google may impose no restrictions on use, display, or interoperability

with Search Access Points, including of GenAI Products, provided, however, that Google may

take reasonable steps to protect its brand, its reputation, and security. Google may not place any

conditions on how any Qualified Competitor may use or display syndicated content under this

Paragraph VIII.E, including on scraping, indexing, or crawling the syndicated results. For

example, licensees may elect, in their sole discretion, which queries (some or all) for which they

will request syndicated Search Text Ads and which syndication components to display or use and

may do so in any manner they choose. Qualified Competitors must have the right to set a

minimum CPC for ads syndicated under this Paragraph VIII.E to appear on their website. Google

may not retain or use (in any way) syndicated queries or other information it obtains under this

Paragraph VIII.E for its own products and services. For the avoidance of doubt, Google must

only provide syndication for queries that originate in the United States.

         E.F.   No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. Complaints regarding non-compliance with this

provision will be reviewed in the first instance bySection may be referred to the TC for review in

accordance with Paragraph X.C.3 below.

IX.      LIMITATIONSCHOICE SCREENS ON DISTRIBUTION
         AGREEMENTSEXISTING NON-APPLE DEVICES, GOOGLE DEVICES, AND
         USER NOTIFICATION OF GSE CHOICESGOOGLE BROWSERS

         The purposes of the following remedies set forth in this Section are to unfetter the

markets from Google’s illegal monopolization and deprive it of the fruits of its violations by


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informing users, including the many usersthose accustomed to Google’s default status on their

existing Devices and Google Devices, of theirthe competitive choices for GSEs. TheseThe

remedies in this Section are further intended to limit Google’s ability to enter into or continue its

anticompetitive distribution agreements.

       A.      Choice Screens For Google Search Access Points On Existing Non-Apple, Third-

Party Devices: Google must not offer or provide anything of value to any Distributor for any

form of default, placement, or preinstallation distribution (including Choice Screens) related to a

GSE or Search Access Point on a non-Apple, third-party Device. Google must not take any

action that would undermine, frustrate, interfere with, or in any way reduce the ability of the

Device or any third-party or preinstalled Search Access Point to be configured to default to or

otherwise interoperate with non-Google GSEs or other competitive entrants. For every Google

Search Access Point that was preinstalled on a non-Apple, third-party Device under a

distribution agreement before the date of entry of this Final Judgment, Google must offer the

Distributor the option to display (1) a Search Access Point Choice Screen (if the Search Access

Point Choice Screen includes a Google Browser as an option and the Google Browser is selected,

then a Default Search Engine Choice Screen must be shown for the Google Browser) or (2) a

Search Default Choice Screen (if Google has already shown a Search Default Choice Screen for

another Search Access Point on that Device, Google may apply the previous selection to each

Search Access Point), to any user who has Google as their default GSE on that Search Access

Point, and for. For each Device displaying such Choice Screen,Screens, the Distributor shall

receive from Google a fixed monthly payment for the remaining life of the Device or one (1)

year, whichever is shorter, a fixed monthly payment equal to the average monthly amount that

Google paid to the Distributor for that Device during the shorter of the 12-month period prior to

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the date of entry of this Final Judgment or the lifetime of the Device. For purposes of this

Paragraph, Chrome is a Google Search Access Point until it is divested.

       B.      Default GSEs On Non-Apple, Third-Party Search Access Points: Google must not

offer or provide anything of value to any Distributor for any form of default, placement, or

preinstallation distribution (including choice screens) related to making any GSE a default within

a new or existing Search Access Point.

       C.B.    Choice Screens For Search Access Points On Google Devices: Google must

notOn new Google Devices, Google may display a Search Access Point Choice Screen or may

preinstall anya Google Search Access Point on any new Google Device. Google must not take

any action that would undermine, frustrate, interfere with, or in any way reducethat implements a

Default Search Choice Screen (if the ability of the Device or any third-party or preinstalled

Search Access Point to be configured to default to or otherwise interoperate with non-Google

GSEs or other competitive entrants. On new Google Devices, Google may display Choice

Screens with Search Access Points of Choice Screen includes a Google Browser as an option and

the Google Browser is selected, then a Default Search Engine Choice Screen must be shown for

the same type as options. If the user selects the Google Search Access Point from the Choice

Screen, a second Choice Screen must be displayed to determine the default GSE for that Google

Search Access Point.Google Browser). For each Search Access Point preinstalled on an existing

Google Device before the date of entry of this Final Judgment, Google must (a) implement,

through a software update or otherwise, a Choice Screen a Default Search Choice Screen or a

Search Access Point Choice Screen (if the Search Access Point Choice Screen includes a Google

Browser as an option and the Google Browser is selected, then a Default Search Engine Choice

Screen must be shown for the Google Browser) or (b) cease providing responses from Google’s

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GSE to queries from thatdelete—or, if undeletable, remove the visual representation of—the

Search Access Point. For purposes of this Paragraph, Chrome is a Google Search Access Point

until it is divested.

        D.C.     Choice Screens On Google Browsers: Google must display a Search Default

Choice Screen on every new and existing instance of a Google Browser where the user has not

previously affirmatively selected a default GSE for that Google Browser, including by changing

the search default through the settings.

        E.D.     Choice Screen Review By Plaintiffs And The TCScreens: Google must disclose

each Choice Screen, the related distribution agreement, if relevant, and its plan for implementing

that Choice Screen to Plaintiffs and the TC at least sixty (60) days in advance of the Choice

Screen being displayed to any user. Each Choice Screen must provide users with a clear choice

between competing products and be designed to not preference Google, to be accessible, to be

easy to use, and to minimize choice friction, based on empirical evidence of user behavior. After

consultation with a behavioral scientist, the TC will report to Plaintiffs whether each Choice

Screen satisfies these requirements, and ultimately Plaintiffs must approve any Choice Screen

offered pursuant to this Final Judgment. Plaintiffs, in consultation with the TC, may require

modifications to any Choice Screen over time. Any choice screen provided for in this Final

Judgment must be designed to not preference Google, to be accessible, to be easy to use, and to

minimize choice friction, based on empirical evidence of user behavior.

                 1.     “Search Access Point Choice Screen” means a choice screen that appears

                        on a Device and is no more favorable to Google than a choice screen with

                        the following characteristics (e.g., a choice screen may be randomized or




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              may show a Competitor in the top position every time rather than having

              the options appear in random order):

              a)     for a Google Device, five options qualify to appear on the choice

                     screen: a single Google-owned Search Access Point, the Device’s

                     current default Search Access Point (if applicable), and the three-

                     to-four (as applicable) consenting rival Search Access Points of the

                     same type with the highest U.S. market shares;

              b)     for a non-Google Device, a single Google-owned Search Access

                     Point and three-to-five rival Search Access Points selected by the

                     Distributor appear as options on the choice screen;

              c)     the options appear in random order (1) at the device’s first use,

                     including after a factory reset; and (2) if the user has not otherwise

                     seen the choice screen within the previous 90 days, at the device’s

                     first use on or after a fixed, yearly date coordinated across all

                     Choice Screens; and

              d)     the user can return to the choice screen at any time by selecting a

                     reasonably accessible setting.

        2.    “Search Default Choice Screen” means a choice screen that appears on a

              Search Access Point and is no more favorable to Google than a choice

              screen with the following characteristics (e.g., a choice screen may be

              randomized or may show a Competitor in the top position every time

              rather than having the options appear in random order):




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                       a)      for a Google Search Access Point, five options qualify to appear on

                               the choice screen: a single Google-owned GSE, the current default

                               search engine (if applicable), and the three-to-four (as applicable)

                               consenting rival GSEs with the highest U.S. market shares;

                       b)      for a non-Google Search Access Point, a single Google-owned

                               GSE and three-to-five rival GSEs selected by the Search Access

                               Point company appear as options on the choice screen;

                       c)      the options appear in random order (1) at the Search Access

                               Point’s first use, including after a factory reset; (2) if the user has

                               not otherwise seen the choice screen within the previous 90 days,

                               at the Search Access Point’s first use on or after a fixed, yearly

                               date coordinated across all Choice Screens;

                       d)      the GSE selected on the choice screen becomes the Search Access

                               Point’s default GSE for those user queries and prompts that result

                               in the display of web links; and

                       e)      the user can return to the choice screen at any time by selecting a

                               reasonably accessible setting.

       F.E.    [The following provisions in this Paragraph IX.FE are proposed solely by the

Colorado State PlaintiffsPlaintiff States. Plaintiff United States and its Co-Plaintiff States do not

join in proposing these remedies.] Public Education Fund: Google will fund a nationwide

advertising and education program designed to inform users of the outcome of this litigation and,

the remedies in this Final Judgment relating to GSE choices and disclosures of data. In order to

lower, the barrier to entry created by Google’s brand recognition (ECF 1032 at 159–60) and to

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increase purpose of the effectiveness of remedies to restore competition and improve consumer

choice, and the Choice Screen remedy, that funding may include reasonable, short-term incentive

payments to users who voluntarily choose a non-Google default GSE on a Choice

Screen.mechanisms available to consumers to exercise choice in the selection of GSEs. The

Public Education Fund’s creation and expendituresFund will be based on predicted outcomes,

retrospective analyses, and testing, whichdesigned to best advance the ability of consumers to

make informed choices. The TC shall assess the design and funding level of the Public Education

Fund for the approval of the Colorado Plaintiff States will approve after consultation with the

Technical Committee.and subsequent review of this Court. In its work, the TC shall assess the

role of short-term incentive payments in achieving the goals of the Public Education Fund.

Nothing in this program will limit the ability of usersconsumers to change any Search Access

Point or a search default on a Search Access Point, at any time as they choose.

        G.F.   No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. Complaints regarding non-compliance with this

provision willSection may be reviewed in the first instance byreferred to the TC for review in

accordance with Paragraph X.C.3 below.

X.      EFFICIENT, EFFECTIVE, AND ADMINISTRABLE MONITORING AND
        ENFORCEMENT

        The purposes of the following remedies set forth in this Section are to ensure the

efficient, effective, and administrable monitoring and enforcement of this decree.

        A.     Technical Committee:

               1.      Within thirty (30) days of entry of this Final Judgment, the Court will

                       appoint, pursuant to the procedures below, a five-person Technical
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              Committee (“TC”) to assist in enforcement of and compliance with this

              Final Judgment.

        2.    The TC members must be experts in some combination of software

              engineering, information retrieval, artificial intelligence, economics, and

              behavioral science. No TC member may have a conflict of interest that

              could prevent them from performing their duties in a fair and unbiased

              manner. In addition, unless Plaintiffs specifically consent, no TC member:

              a)     may have been employed in any capacity by Google or any

                     Competitor to Google within the six-month period directly

                     predating their appointment to the TC;

              b)     may have been retained as a consulting or testifying expert by any

                     party in this action; or

              c)     may perform any work for Google or any Competitor of Google

                     during the time that they serve on the TC and for one (1) year after

                     ceasing to serve on the TC.

        3.    Within seven (7) days of entry of this Final Judgment, Plaintiff United

              States (after consultation with the Co-Plaintiff States), the Colorado

              Plaintiff States, and Google will each select one member of the TC, and a

              majority of those three members will then select the remaining two

              members. Plaintiff United States’ appointee will serve as chair. The

              selection and approval process will be as follows:

              a)     As soon as practicable after submission of this Final Judgment to

                     the Court, the Plaintiffs as a group will identify to Google the

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                    individuals they propose to select as their designees to the TC, and

                    Google will identify to Plaintiffs the individual it proposes to select

                    as its designee. No party may object to a selection on any ground

                    other than failure to satisfy the requirements of Paragraph X.A.2

                    above. Any such objection must be made within ten (10) business

                    days of the receipt of notification of selection.

              b)    The Plaintiffs will apply to the Court for appointment of the

                    persons selected pursuant to Paragraph X.A.3.a) above. Any

                    objections to the eligibility of a selected person that the parties

                    have failed to resolve between themselves will be decided by the

                    Court based solely on the requirements stated in Paragraph X.A.2

                    above.

              c)    As soon as practicable after their appointment by the Court, the

                    three members of the TC selected by the Plaintiffs and Google (the

                    “Standing Committee Members”) will identify to the Plaintiffs and

                    Google the persons that they in turn propose to select as the

                    remaining members of the TC. The Plaintiffs and Google must not

                    object to these selections on any grounds other than failure to

                    satisfy the requirements of Paragraph X.A.2 above. Any such

                    objection must be made within ten (10) business days of the receipt

                    of notification of the selection and must be served on the other

                    party as well as on the Standing Committee Members.




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              d)     The Plaintiffs will apply to the Court for appointment of the

                     persons selected by the Standing Committee Members. If the

                     Standing Committee Members cannot agree on the fourth or fifth

                     members of the TC, that member or members will be appointed by

                     the Court. Any objection by Plaintiffs or Google to the eligibility

                     of the person selected by the Standing Committee Members which

                     the parties have failed to resolve among themselves will also be

                     decided by the Court based solely on the requirements stated in

                     Paragraph X.A.2 above.

        4.    The Standing Committee Members will serve for an initial term of thirty-

              six (36) months; the remaining members will serve for an initial term of

              thirty (30) months. At the end of a TC member’s term, the party that

              originally selected them may, in its sole discretion, either request re-

              appointment by the Court to additional terms of the same length, or

              replace the TC member in the same manner as provided for in

              Paragraph X.A.3 above. In the case of the fourth and fifth members of the

              TC, those members will be re-appointed or replaced in the manner

              provided in Paragraph X.A.3 above.

        5.    If Plaintiffs determine that a member of the TC has failed to act diligently

              and consistently with the purposes of this Final Judgment, or if a member

              of the TC resigns, or for any other reason ceases to serve in their capacity

              as a member of the TC, the person or persons that originally selected the




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              TC member will select a replacement member in the same manner as

              provided for in Paragraph X.A.3 above.

        6.    Promptly after appointment of the TC by the Court, the Plaintiffs will

              enter into a Technical Committee Services Agreement (“TC Services

              Agreement”) with each TC member that grants the rights, powers, and

              authorities necessary to permit the TC to perform its duties under this

              Final Judgment. Google must indemnify each TC member and hold them

              harmless against any losses, claims, damages, liabilities or expenses

              arising out of, or in connection with, the performance of the TC’s duties,

              except to the extent that such liabilities, losses, damages, claims, or

              expenses result from misfeasance, gross negligence, willful or wanton

              acts, or bad faith by the TC member. The TC Services Agreements must

              include the following:

              a)     The TC members will serve, without bond or other security, at the

                     cost and expense of Google on such terms and conditions as the

                     Plaintiffs approve, including the payment of reasonable fees and

                     expenses.

              b)     The TC Services Agreement will provide that each member of the

                     TC must comply with the limitations provided for in

                     Paragraph X.A.2 above.

        7.    The TC must have the following powers and duties:

              a)     The TC will have the power and authority to monitor Google’s

                     compliance with its obligations under this Final Judgement.

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              b)    The TC will have the power to setrecommend reasonable data

                    security standards applicable to Qualified Competitors, which will

                    be approved by the Plaintiffs.

              c)    The TC will have the power to evaluate Choice Screens and

                    recommend to Plaintiffs whether they comply with this Final

                    Judgment.

              d)    The TC may, on reasonable notice to Google:

                    (1)    interview, either informally or on the record, any Google

                           personnel, who may have their individual counsel present;

                           any such interview will be subject to the reasonable

                           convenience of such personnel and without restraint or

                           interference by Google;

                    (2)    inspect and copy any document in the possession, custody,

                           or control of Google personnel;

                    (3)    obtain reasonable access to any system or equipment to

                           which Google personnel have access;

                    (4)    obtain reasonable access to, and inspect, any physical

                           facility, building or other premises to which Google

                           personnel have access; and

                    (5)    require Google personnel to provide compilations of

                           documents, data and other information, and to submit

                           reports to the TC containing such material, in such form as

                           the TC may reasonably direct.

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              e)    The TC will have access to Google’s source code and algorithms,

                    subject to a confidentiality agreement, as approved by the Plaintiffs

                    and to be agreed to by the TC members pursuant to Paragraph

                    X.A.8 below, and by any staff or consultants who may have access

                    to the source code and algorithms. The TC may study, interrogate

                    and interact with the source code and algorithms in order to

                    perform its functions and duties, including the handling of

                    complaints and other inquiries from third parties.

              f)    The TC will receive complaints from Google’s Compliance Officer

                    (as described in SectionParagraph X.B below), third parties, or the

                    Plaintiffs and handle them in the manner specified in

                    SectionParagraph X.C below.

              g)    The TC must report in writing to the Plaintiffs, initially every three

                    (3) months for three (3) years and thereafter every six (6) months

                    until expiration of this Final Judgment, the actions it has

                    undertaken in performing its duties pursuant to this Final

                    Judgment, including the identification of each business practice

                    reviewed and any recommendations made by the TC.

              h)    Regardless of when reports are due, when the TC has reason to

                    believe that there may have been a failure by Google to comply

                    with any term of this Final Judgment, or that Google is attempting

                    to circumvent any provision of this Final Judgment or the

                    goalsintended purposes of this Final Judgment, the TC must

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                    immediately notify the Plaintiffs in writing setting forth the

                    relevant details.

              i)    TC members may communicate with third parties about how their

                    complaints or inquiries might be resolved with Google, so long as

                    the confidentiality of information obtained from Google is

                    maintained.

              j)    The TC may hire at the cost and expense of Google, with prior

                    notice to Google and subject to approval by the Plaintiffs, such

                    staff or consultants (all of whom must meet the qualifications of

                    SectionParagraphs X.A.2.a-c) as are reasonably necessary for the

                    TC to carry out its duties and responsibilities under this Final

                    Judgement. The compensation of any person retained by the TC

                    will be based on reasonable and customary terms commensurate

                    with the individual’s experience and responsibilities.

              k)    The TC must account for all reasonable expenses incurred,

                    including agreed upon fees for the TC members’ services, subject

                    to the approval of the Plaintiffs. Google’s failure to promptly pay

                    the TC’s accounted-for costs and expenses, including for agents

                    and consultants, will constitute a violation of this Final Judgment

                    and may result in sanctions imposed by the Court. Google may, on

                    application to the Court, object to the reasonableness of any such

                    fees or other expenses only if Google has conveyed such

                    objections to the Plaintiffs and the TC within ten (10) calendar

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                     days of receiving the invoice for such fees or other expenses. On

                     any such application, (a) Google will bear the burden to

                     demonstrate unreasonableness; (b) Google must establish an

                     escrow account into which it deposits the disputed costs and

                     expenses until the dispute is resolved; and (c) the TC members will

                     be entitled to recover all costs incurred on such application

                     (including reasonable attorneys’ fees and costs), regardless of the

                     Court’s disposition of such application, unless the Court expressly

                     finds that the TC’s opposition to the application was without

                     substantial justification.

              l)     [The following provision in Paragraph X.A.7.l is proposed solely

                     by the Colorado State Plaintiffs.Plaintiff States. Plaintiff United

                     States and its Co-Plaintiff States do not join in proposing this

                     remedy.] The TC will have the power to implement the Public

                     Education Fund as provided for in Paragraph IX.FE above.

        8.    Each TC member, and any consultants or staff hired by the TC, must sign

              a confidentiality agreement prohibiting disclosure of any information

              obtained in the course of performing his or her duties as a member of the

              TC or as a person assisting the TC, to anyone other than another TC

              member or a consultant or staff hired by the TC, Google, the Plaintiffs, or

              the Court. All information gathered by the TC in connection with this

              Final Judgment and any report and recommendations prepared by the TC

              must be treated as Highly Confidential under the Protective Order in this

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               case, and must not be disclosed to any person other than another TC

               member or a consultant or staff hired by the TC, Google, the Plaintiffs,

               and the Court except as allowed by the Protective Order entered in the

               Action or by further order of this Court. No member of the TC may make

               any public statements relating to the TC’s activities.

   B.   Internal Compliance Officer:

        1.     Google must designate, within thirty (30) days of entry of this Final

               Judgment, an employee of Google as the internal Compliance Officer with

               responsibility for administering Google’s antitrust compliance program

               and helping to ensure compliance with this Final Judgment.

        2.     Within seven (7) days of the Compliance Officer’s appointment, Google

               must identify to the Plaintiffs the Compliance Officer’s name, business

               address, telephone number, and email address. Within fifteen (15) days of

               a vacancy in the Compliance Officer position, Google must appoint a

               replacement and identify to the Plaintiffs the replacement Compliance

               Officer’s name, business address, telephone number, and email address.

               Google’s initial or replacement appointment of the Compliance Officer is

               subject to the approval of the United States, in its sole discretion, after

               consultation with the Co-Plaintiff States and the Colorado Plaintiff

               StatesPlaintiffs.

        3.     The Compliance Officer must supervise the review of Google activities to

               ensure that they comply with this Final Judgment. The Compliance

               Officer may be assisted by other employees of Google.

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        4.    The Compliance Officer must be responsible for performing the following

              activities:

              a)      within thirty (30) days after entry of this Final Judgment,

                      distributing a copy of the Final Judgment to all officers and

                      employees of Google;

              b)      distributing a copy of this Final Judgment to any person who

                      succeeds to a position described in Paragraph X.B.4.a above within

                      thirty (30) days of the date the person starts that position;

              c)      ensuring that those persons designated in Paragraph X.B.4.a above

                      are annually trained on the meaning and requirements of this Final

                      Judgment and the U.S. antitrust laws and advising them that

                      Google’s legal advisors are available to confer with them regarding

                      any question concerning compliance with this Final Judgment or

                      the U.S. antitrust laws;

              d)      obtaining from each person designated in Paragraph X.B.4.a above

                      an annual written certification that he or she: (i) has read and

                      agrees to abide by the terms of this Final Judgment; and (ii) has

                      been advised and understands that his or her failure to comply with

                      this Final Judgment may result in a finding of contempt of court;

              e)      maintaining a record of all persons to whom a copy of this Final

                      Judgment has been distributed and from whom the certification

                      described in Paragraph X.B.4.d above has been obtained;




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              f)    ensuring that all employees, and all new employees, receive a copy

                    of this Final Judgment and receive annual training on compliance

                    with the U.S. antitrust laws (the Compliance Officer will be

                    responsible for approving the content, schedule, and scope of

                    delivery of compliance training within Google with respect to:

                    compliance with the decree itself; substantiveU.S. antitrust laws;

                    and obligations to preserve and produce materials for use in

                    investigations, litigations, or regulatory proceedings);

              g)    annually communicating to all employees that they may disclose to

                    the Compliance Officer, without reprisal for such disclosure,

                    information concerning any violation or potential violation of this

                    Final Judgment or the U.S. antitrust laws by Google, and

                    establishing a confidential avenue for any employee to report

                    potential violations;

              h)    establishing and maintaining the website provided for in Paragraph

                    X.C.2.a below;

              i)    receiving complaints from third parties, the TC, and the Plaintiffs

                    concerning Google’s compliance with this Final Judgment and

                    following the appropriate procedures set forth in SectionParagraph

                    X.C below;

              j)    maintaining a record of all complaints received and action taken by

                    Google with respect to each such complaint; and




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               k)     ensuring employees retain all relevant documents and

                      electronically stored information, regardless of medium or form,

                      related to this Final Judgement and all complaints received and or

                      action taken by Google with respect to any complaint.

        5.     Google must withing thirty (30) days further appoint a senior business

               executive, who has visibility into any Google entity with obligations under

               this Final Judgment, who Google will make available to update the Court

               on Google’s compliance at regular status conferences or as otherwise

               ordered.

        6.     Google will retain (if it has not already) a licensed attorney in good

               standing in California to collect documents and interview employees and

               generally review Google’s document retention practices and Google’s

               compliance with its legal discovery obligations. under this case and final

               judgment. This attorney will be retained for a term no shorter than

               eighteen (18) months. This attorney (and any team this attorney

               assembles) will present to the Audit and Compliance Committee (or any

               successor Board Committee) on the retention of documents and Google’s

               compliance with its discovery obligations.

   C.   Voluntary Dispute Resolution:

        1.     Third parties may submit complaints concerning Google’s compliance

               with this Final Judgment to the Plaintiffs, the TC, or the Compliance

               Officer.




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        2.    Third parties, the TC, or Plaintiffs in their discretion may submit to the

              Compliance Officer any complaints concerning Google’s compliance with

              this Final Judgment. Without in any way limiting their authority to take

              any other action to enforce this Final Judgment, the Plaintiffs may submit

              complaints to the Compliance Officer whenever doing so would be

              consistent with the public interest.

              a)     To facilitate the communication of complaints and inquiries by

                     parties, the Compliance Officer must place on Google’s website, in

                     a manner acceptable to the Plaintiffs, the procedures for submitting

                     complaints. To encourage whenever possible the informal

                     resolution of complaints and inquiries, the website must provide a

                     mechanism for communicating complaints and inquiries to the

                     Compliance Officer.

              b)     Google has thirty (30) days after receiving a complaint to attempt

                     to resolve or to reject it.

              c)     Within thirty (30) days of receiving a complaint, the Compliance

                     Officer must advise the TC ofand the Plaintiffs of the nature of the

                     complaint and its disposition. The TC may then takepropose to the

                     Plaintiffs further actions consistent with this Final Judgment,

                     including consulting with Plaintiffs regarding the complaint.

        3.    The Compliance Officer, third parties, or the Plaintiffs in their discretion

              may submit to the TC any complaints concerning Google’s compliance

              with this Final Judgment.

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              a)     The TC must investigate complaints it receives and will consult

                     with the Plaintiffs regarding its investigation. At least once during

                     its investigation, and more often when it may help resolve

                     complaints informally, the TC will meet with the Compliance

                     Officer to allow Google to respond to the substance of the

                     complaint and to determine whether the complaint can be resolved

                     without further proceedings.

              b)     If the TC concludes that a complaint is meritorious, itFollowing its

                     investigation, the TC will advise Google and the Plaintiffs of its

                     conclusion and its proposal for cure.

              c)     Reports and recommendations from the TC may be received into

                     evidence by the Court in connection with any effort by any

                     Plaintiff to enforce this Final Judgment but must not be otherwise

                     made available in any other court or tribunal related to any other

                     matter. No member of the TC will be required to testify by

                     deposition, in court, or before any other tribunal regarding any

                     matter related to this Final Judgment.

              d)     The TC may preserve the anonymity of any third-party

                     complainant where it deems it appropriate to do so upon the

                     request of the Plaintiffs or the third party, or in its discretion.

   D.   Compliance Inspection:

        1.    Without in any way limiting the sovereign enforcement authority of each

              of the Colorado Plaintiff States, the Colorado Plaintiff States will form a

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              committee to coordinate their enforcement of this Final Judgment. Neither

              a Co-Plaintiff State nor a Colorado Plaintiff State may take any action to

              enforce this Final Judgment without first consulting with the United States

              and with the Colorado Plaintiff States’ enforcement committee.

        2.    For the purposes of determining or securing compliance with this Final

              Judgment or of determining whether this Final Judgment should be

              modified or vacated, upon written request of an authorized representative

              of the Assistant Attorney General for the Antitrust Division (after

              consultation with the Co-Plaintiff States and the Colorado Plaintiff States’

              enforcement committee) or of the Attorney General of a Co-Plaintiff State

              or the Attorney General of a Colorado Plaintiff State (after consultation

              with the United States and the Colorado Plaintiff States’ enforcement

              committee), as the case may be, and reasonable notice to Google, Google

              must permit, from time to time and subject to legally recognized

              privileges, authorized representatives, including agents retained by any

              Plaintiff:

              a)      to have access during Google’s office hours to inspect and copy, or

                      at the option of the Plaintiff, to require Google to provide

                      electronic copies of all books, ledgers, accounts, records, data, and

                      documents in the possession, custody, or control of Google relating

                      to any matters contained in this Final Judgment; and

              b)      to interview, either informally or on the record, Google’s officers,

                      employees, or agents, who may have their individual counsel

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                              present, relating to any matters contained in this Final Judgment.

                              The interviews must be subject to the reasonable convenience of

                              the interviewee and without restraint or interference by Google.

               3.     Upon the written request of an authorized representative of the Assistant

                      Attorney General for the Antitrust Division (after consultation with the

                      Co-Plaintiff States and the Colorado Plaintiff States’ enforcement

                      committee) or of the Attorney General of a Co-Plaintiff State or the

                      Attorney General of a Colorado Plaintiff State (after consultation with the

                      United States and the Plaintiff States’ enforcement committee), Google

                      must submit written reports or respond to written interrogatories, under

                      oath if requested, relating to any matters contained in this Final Judgment.

       E.      Anti-Retaliation: Google must not retaliate in any form against a person because it

is known to Google that the person is or is contemplating:

               1.     developing, distributing, promoting, syndicating, using, selling, offering,

                      or licensing any product or service that competes with—or facilitates

                      competition with—a Google-affiliated GSE or a Google-affiliated Search

                      Text Ads product;

               2.     filing a complaint related to Google’s compliance with this Final

                      Judgment;

               3.     testifying, assisting, cooperating with, or participating in any manner in an

                      investigation, proceeding, hearing, or litigation related to Google’s

                      compliance with this Final Judgment; or




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               4.     exercising any of the options or alternatives provided for under this Final

                      Judgment.

       F.      Anti-Circumvention: Google is enjoined from enforcing or complying with any

provision in any existing or future contract, agreement, or understanding which is otherwise

prohibited by this Final Judgment.

               1.     Google must not (i) engage in any conduct designed to replicate the effect

                      of any behavior found by the Court to violate the Sherman Act; (ii) engage

                      in any conduct substantially similar to conduct prohibited by another

                      Section of this Final Judgment or designed to evade any obligation

                      imposed by this Final Judgment; or (iii) engage in any conduct with the

                      purpose or effect of evading or frustrating the intended purposes of this

                      Final Judgment, as stated throughout this Final Judgment.

               1.     If Google is found liable in any federal court for a violation of the antitrust
                      laws involving GSE or Search Text Ads, the Court may, upon judicial
                      notice of the liability finding, automatically order the structural relief
                      provided for in Paragraph V.D above.

               2.     For the avoidance of doubt, the provisions in this SectionParagraph X.F

                      are worldwide in scope and are applicable to Google’s conduct or

                      contracts regardless of where it occurred or purports to apply.

       G.      No Circumvention ofOf This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. or any of its provisions. Complaints regarding non-compliance with this

provision willSection may be reviewed in the first instance byreferred to the TC for review in

accordance with Paragraph X.C.3 abovebelow.



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XI.      RETENTION OF JURISDICTION AND ENFORCEMENT OF FINAL
         JUDGMENT

         A.    Jurisdiction is retained by this Court for the purpose of enabling any of the parties

to this Final Judgment to apply to this Court at any time for such further orders or directions as

may be necessary or appropriate for the construction or carrying out of this Final Judgment, for

the modification of any of theits provisions hereof (including an order divestingto divest any

relevant Google business), for the enforcement of compliance herewithwith this Final Judgment,

and for the punishment of any violation hereofof this Final Judgment. In any motion to modify

this Final Judgment, Plaintiffs need not show any change in circumstances, but need only

demonstrate that modification is necessary to achieve the ultimate goalsintended purposes of this

Final Judgment to restore competition in the monopolized markets. In any action to enforce this

Final Judgment, Google must show by a preponderance of the evidence that its actions are in

compliance with this Final Judgment.

         B.    The Court may act sua sponte to issue orders or directions for the construction or

carrying out of this Final Judgment, for the enforcement of compliance therewith, and for the

punishment of any violation thereof.

         C.    This Final Judgment should be interpreted to give full effect to the procompetitive

purposes of the U.S. antitrust laws and to restore the competition the Court found was harmed by

Google’s illegal conduct.

         D.    For a period of four (4) years following the expiration of this Final Judgment, if

any Plaintiff has evidence that Google violated this Final Judgment before it expired, that

Plaintiff may file an action against Google in this Court requesting that the Court order

(1) Google to comply with the terms of this Final Judgment for an additional term of at least four



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(4) years following the filing of the enforcement action; (2) all appropriate contempt remedies;

and (3) additional relief needed to ensure Google complies with the terms of this Final Judgment.

       E.      In connection with a successful effort by any Plaintiff to enforce this Final

Judgment against Google, whether litigated or resolved before litigation, Plaintiff may request

that the Court order Google to reimburse that Plaintiff for the fees and expenses of its attorneys,

as well as all other costs, including experts’ fees, incurred in connection with that effort to

enforce this Final Judgment, including in the investigation of the potential violation.

XII.   EFFECTIVE DATE AND EXPIRATION OF FINAL JUDGMENT

       This Final Judgment will take effect thirty (30) days after the date on which it is entered,

(the “Effective Date”), and Plaintiffs must report the date on which Google has substantially

implemented all provisions of this Final Judgment (the “Effective Date”).. Unless the Court

grants an extension or early termination is granted, this Final Judgment will expire ten (10) years

from the Effective Date. This Final Judgment may be terminated upon notice by the United

States (after consultation with the Co-Plaintiff States), the Colorado Plaintiff States’ enforcement

committee, and Google that continuation of this Final Judgment is no longer necessary to restore

competition in the monopolized markets. Alternatively, if Google has substantially complied

with all terms of this Final Judgment for at least the preceding five (5) years and if Google’s

Competitors’ combined market share in U.S. GSEs, as measured by the six-month moving

medians of two industry standards, agreed upon by Google and the Plaintiffs, is greater than 50%

(excluding all syndicated queries), Google may petition the Court to terminate this Final

Judgment on the grounds that competition in both relevant markets has increased so substantially

that this Final Judgment is no longer needed.




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XIII. THIRD-PARTY RIGHTS

       Nothing in this Final Judgment is intended to confer upon any other persons any rights or

remedies of any nature whatsoever hereunder or by reason of this Final Judgment other than the

right to submit complaints to the Compliance Officer and the TC.

XIV. FEES AND COSTS

       Plaintiffs are prevailing parties in this litigation. Google is ordered to pay Plaintiff United

States’ reasonable attorneys’ fees and costs, the Co-Plaintiff States’ reasonable attorneys’ fees

and costs, and the Colorado Plaintiff States’ reasonable attorneys’ fees and costs.



Date: __________________



                                                              ______________________________
                                                              Judge Amit Mehta
                                                              United States District Judge




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